        Case 3:09-cr-00106-JJB-SCR   Document 123   09/15/10   Page 1 of 6




USA certified copy
Case 3:09-cr-00106-JJB-SCR   Document 123   09/15/10   Page 2 of 6
Case 3:09-cr-00106-JJB-SCR   Document 123   09/15/10   Page 3 of 6
Case 3:09-cr-00106-JJB-SCR   Document 123   09/15/10   Page 4 of 6
Case 3:09-cr-00106-JJB-SCR   Document 123   09/15/10   Page 5 of 6
Case 3:09-cr-00106-JJB-SCR   Document 123   09/15/10   Page 6 of 6
